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                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,                      )             Case No. 8:04CR534
                                               )
                       Plaintiff,              )
                                               )
       v.                                      )                     ORDER
                                               )
MEGAN ANDERSEN,                                )
                                               )
                       Defendant.              )


       IT IS ORDERED that defendant's Motion to Continue Sentencing, Filing No. 38, is granted.

Sentencing is continued to August 19, 2005, at 8:30 a.m., before the undersigned in Courtroom

No. 3, Third Floor, Roman L. Hruska U.S. Courthouse, 111 South 18th Plaza, Omaha, Nebraska.

Since this is a criminal case, the defendant shall be present, unless excused by the court. If an

interpreter is required, one must be requested by the plaintiff in writing five (5) days in advance of

the scheduled hearing.

       DATED this 24th day of May, 2005.

                                               BY THE COURT:




                                               s/ Joseph F. Bataillon
                                               JOSEPH F. BATAILLON
                                               United States District Judge
